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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   NEW ALBANY DIVISION

 CHRISTOPHER G. HILL,                           )
                                                )
        Plaintiff,                              )
                                                )
                v.                              )       Cause No. 4:21-cv-00080-SEB-DML
                                                )
 RONALD A. HORNBACK, JR.,                       )
                                                )
        Defendant.                              )

      DEFENDANT’S MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM

        Defendant Ronald A. Hornback, Jr., respectfully moves the Court to dismiss Plaintiff

 Christopher G. Hill’s Complaint for failure to state a claim upon which relief can be granted

 under Federal Rule of Civil Procedure 12(b)(6). In support of this motion, Defendant Hornback

 contemporaneously files his Brief in Support of Defendant’s Motion to Dismiss for Failure to

 State a Claim. Defendant Hornback further attaches as Exhibit A a copy of the Order Granting

 in Part and Denying in Part Motion to Dismiss entered in Chappell v. Trueblood, Cause No.

 2:20-cv-00224-JRS-MG (S.D. Ind.), which Defendant Hornback cites in his brief.

        WHEREFORE, Defendant Ronald A. Hornback, Jr., by counsel, respectfully requests

 that the Court grant his motion to dismiss, dismiss this case in its entirety, and grant all other just

 and proper relief.

                                                        Respectfully submitted,

                                                        ZACHARY A. MYERS
                                                        United States Attorney

                                                By:     s/ Gina M. Shields
                                                        Gina M. Shields
                                                        Assistant United States Attorney
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                                   CERTIFICATE OF SERVICE

        I hereby certify that on August 26, 2022, a copy of the foregoing was filed electronically.

 Service of this filing was made on the following ECF-registered counsel by operation of the

 Court’s electronic filing system:

        None.

        I further certify that on August 26, 2022, a copy of the foregoing was mailed, by first

 class U.S. Mail, postage prepaid and properly addressed to the following:

        Christopher G. Hill
        48506
        Clark County Jail
        Inmate Mail/Parcels
        501 East Court Avenue
        Jeffersonville, IN 47130

                                              s/ Gina M. Shields
                                              Gina M. Shields
                                              Assistant United States Attorney


 Office of the United States Attorney
 Southern District of Indiana
 10 West Market Street, Suite 2100
 Indianapolis, IN 46204




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